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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Christone Feltzs, et al, SACV 19-02002-JVS (JDEx)
ORDER OF DISMISSAL UPON

Plaintiff,
SETTLEMENT OF CASE

V.

C ox Communications Cal, LLC, et
a ?

Defendant(s).

 

The Court having been advised by the counsel for the parties that the above-
entitled action has been settled,

IT IS ORDERED that this action be and is hereby dismissed in its entirety
without prejudice to the right, upon good cause being shown within 45 days, to reopen

the action if settlement is not consummated.

[ya
DATED: November 10, 2021 pee UV 4 Jeo.

ames V. a
US. District Judge

 

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